972 F.2d 1340
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Thos. S. MADSEN, Personal representative of Estate of MiyongMadsen, his deceased wife &amp; as Guardian for GinaK. Madsen, minor child of Thod S. &amp;Miyong Madsen, Plaintiff-Appellant,v.ALLSTATE INSURANCE COMPANY, an Illinois corporation,Defendant-Appellee.
    No. 91-35538.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 8, 1992.*Decided July 16, 1992.
    
      Before GOODWIN, TANG and THOMPSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This matter is affirmed for the reasons stated by the district judge.
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for submission on the record and briefs and without oral argument.   Fed.R.App.P. 34(a);  Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    